Case 3:23-cv-00825-JFS Document 6 Filed 05/23/23: Page 1 of 1

 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ, et al., > CIVIL NO. 3:23-CV-0825
Plaintiffs : Magistrate J udge Saporito
4 Vy, Be
Vv. & ot os

SILVIA VITIELLO, et al.,

Defendants .

 

ORDER

AND NOW, this 23rd day of May, 2023, upon consideration of the _
Doe. 3 stipulation of the parties, IT IS HEREBY ORDERED THAT the
deadline by which defendant, Airbnb, Inc., shall respond to plaintiffs’

complaint is extended to June 26, 2023.

 
